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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DISTRICT

Luis Segovia, et al,                           )
                                               )
                        Plaintiffs,            )
                                               )
                                               )
v.                                             )   No: 15-cv-10196
                                               )
                                               )   Honorable Joan B. Gottschall
                                               )
Board of Election Commissioners for the        )
City of Chicago, et al,                        )
                                               )
                       Defendants.             )


                                      CERTIFICATE OF SERVICE

        The undersigned, an attorney for the Board of Election Commissioners for the City of
Chicago and Langdon D. Neal, hereby certifies that the Answer of the Board of Election
Commissioners for the City of Chicago and Langdon D. Neal and the Appearance of the
undersigned on their behalf was filed with the Clerk of the United States District Court for the
Northern District of Illinois, Eastern Division, on December 4 2014 via the Court’s CM/ECF
electronic filing system and copies were served electronically on all counsel registered in the
CM/ECF filing service.

Dated: December 4, 2015
                                              James M. Scanlon & Associates, P.C.


                                              By: _____/s James M. Scanlon



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